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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                                 8:16CR307
                              )
    vs.                       )
                              )
GUSTAVO ALVARADO-GUERRERO and )                                  ORDER
KAROLINE ALVIDREZ,            )
                              )
               Defendant.


      This matter is before the court on Defendant Alvardao-Guerroro’s Motion to
Continue Trial [73] and Defendant Alvidrez’s Motion to Continue Trial [74]. Counsel are
both seeking additional time to negotiate and complete a plea deal with the government.
Defendants shall comply with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Motions to Continue Trial [73] and [74] are granted as
follows:

      1. The jury trial, as to both defendants, now set for June 13, 2017 is continued to
July 25, 2017.

       2. The defendants shall file the affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendants in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and July 25, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for
effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
3161(h)(7)(A) & (B)(iv).

       DATED June 13, 2017.

                                   BY THE COURT:

                                   s/ Susan M. Bazis
                                   United States Magistrate Judge
